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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA
                          Case Nos. 19-mj-00421(BRT)
                                07-cr-00315(MJD)

 UNITED STATES OF AMERICA,

                      Plaintiff,
                                                         ORDER OF DETENTION
        v.

 TYRONE SHADALE OAKS,

                      Defendant.


      This matter came before the Court on July 9, 2019, for a preliminary hearing and

upon the motion of the United States for an Order of Detention in Case No. 19-mj-00421,

as well as for an initial appearance and preliminary and detention hearing on the Petition

on Supervised Release in Case No. 07-cr-00315. Mr. Oaks was present and represented

by his attorney, Patrick Leach. The United States was represented by Assistant United

States Attorney Samantha Bates.

       The Court had before it the pretrial services report prepared by the Pretrial Services

Office, along with the Complaint in Case No. 19-mj-00421, and the Petition on Supervised

Release and Notice of Supervised Release Violation in Case No. 07-cr-00315. The

government presented the testimony of Bureau of Alcohol, Tobacco, Firearms and

Explosives Task Force Officer John Biederman regarding the offense and the alleged

violations. After consideration of the Pretrial Services Report, the Petition and Violation

Report, the testimony of TFO Biederman, the government’s motion for detention and

arguments of counsel, and the factors listed in 18 U.S.C. §§ 3142 and 3143, the Court finds
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probable cause (1) to support the charge alleged in the Complaint and (2) that Mr. Oaks

violated the conditions of his supervised release as set forth in the Petition and Violation

Report (the “Petition”).

       The Court further concludes by a preponderance of the evidence that no condition

or combination of conditions of release will reasonably assure Mr. Oaks’ appearance at

future court proceedings. The Court also finds by clear and convincing evidence that no

condition or combination of conditions of release will reasonably assure the safety of the

community. Accordingly, the Court will grant the government's motion for detention.

                                      FINDINGS OF FACT

       Mr. Oaks was placed on a three year term of supervised release in March 2017, after

completing an 120-month sentence for a 2008 conviction for Felon in Possession of a

Firearm, in violation of Title 18, United States Code, Sections 922(g) and 924(a)(2). Mr.

Oaks’ supervised release was revoked in May 2017, and he was sentenced to three months

imprisonment for failing to pay twenty-five percent of his earnings as required by his

conditions of release. In April 2018, Mr. Oaks’ supervised release was revoked a second

time after he was convicted of Fleeing Police in a Motor Vehicle in Hennepin County

District Court. Mr. Oaks was sentenced to one year and one day imprisonment. Mr. Oaks

was released from custody for his supervised release violation on March 1, 2019, and began

an 18-month term of supervised release.

       On July 2, 2019, while on supervised release, Mr. Oaks was charged by Complaint

with Felon in Possession of Ammunition. The Court heard credible testimony from TFO

Biederman regarding the events alleged in the Complaint. This Felon in Possession of

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Ammunition charge also gives rise to the violation of conditions of supervised release

alleged in the Petition.

       On June 14, 2019, St. Paul Police Officers responded to Midway Tobacco in St.

Paul, Minnesota, on the report of a fight between 3-4 men. Shortly after responding, a law

enforcement officer witnessed Mr. Oaks, riding a bike and wearing a backpack, entering a

nearby alley. Mr. Oaks then exited the alley no longer wearing his backpack.

       Shortly thereafter, officers recovered a backpack from a recycling bin in the alley

that matched the backpack Mr. Oaks was previously seen wearing. Inside the backpack

was a box of .45 caliber Federal brand ammunition manufactured in Idaho and a North

Dakota ID in the name of Tyrone Shidale Himon, date of birth May 29, 1974. This matches

Mr. Oaks’ date of birth.      The North Dakota ID card contained a picture that was

subsequently identified by law enforcement as Mr. Oaks. As part of their investigation,

law enforcement reviewed surveillance video from a camera located outside Midwest

Tobacco, which showed Mr. Oaks pull a firearm from his waistband and assault an

unknown male outside the store. Mr. Oaks has a violent criminal history, which included

prior convictions for Third Degree Assault, First Degree Aggravated Robbery, and Felon

in Possession of a Firearm.

                                CONCLUSIONS OF LAW

       Under 18 U.S.C. § 3142, pretrial detention may be ordered either upon a clear and

convincing showing that release will result in a danger to the community or upon a showing

by a preponderance of the evidence that release will result in a serious risk of flight. United

States v. Abad, 350 F.3d 793, 797 (8th Cir. 2003); United States v. Sazenski, 806 F.2d 846,

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848 (8th Cir. 1986). Based on the foregoing findings of fact, the Court concludes no

condition or combination of conditions will reasonably assure Mr. Oaks’ appearance as

required for future proceedings or the safety of the community should Mr. Oaks be released

pending trial.

       For the foregoing reasons, IT IS HEREBY ORDERED that:

       1.        Probable cause has been established to support the charge alleged in the

Complaint;

       2.        There is probable cause to believe Mr. Oaks violated the terms of his

supervised release;

       3.        The motion of the United States for detention of Mr. Oaks is GRANTED;

       4.        Mr. Oaks shall be afforded reasonable opportunity to consult privately with

his counsel; and

       5.        Upon order of the Court or request by the United States Attorney, the person

in charge of the correctional facility in which Mr. Oaks is confined shall deliver him to the

United States Marshal for the purpose of appearance in connection with all court

proceedings.



Dated: July 12, 2019

                                            s/Steven E. Rau
                                            STEVEN E. RAU
                                            UNITED STATES MAGISTRATE JUDGE




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